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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF NEW YORK


   RUBEN WILLS,                                      Hon. Brian M. Cogan

                          Plaintiff                  CASE 1:20-cv-04432-BMC-VMS
          vs.

   MICROGENICS CORPORATION, ET AL.,                  DECLARATION OF CHRISTOPHER R.
                                                     CARTON IN SUPPORT OF
                          Defendants                 DEFENDANT THERMO FISHER
                                                     SCIENTIFIC INC.’S MOTION TO
                                                     DISMISS PLAINTIFF’S SECOND
                                                     AMENDED COMPLAINT


         I, the undersigned, Christopher R. Carton, declare as follows under 28 U.S.C. § 1746:

         1.       I am an attorney at Bowman and Brooke LLP and am one of the attorneys for

  Defendant Thermo Fisher Scientific Inc. in this case. I am over 18 years of age, am fully competent

  to make this affidavit, and do so on personal knowledge.

         2.       Attached as Exhibit 1 is a compilation of Contract No. CC161458 and all

  corresponding appendices, some of which were produced by the New York State Department of

  Corrections and Community Supervision (“DOCCS”) in response to subpoenas issued in matter

  of Steele-Warrick v. Microgenics Corp, et al., Civ. No. 1:19-cv-06558-VMS.             Slip sheets

  separating the appendices were added for ease of reference.

         3.       Attached as Exhibit 2 is a true and correct copy of 510(k) Substantial Equivalence

  Determination     Decision   Summary,     510(k)   Number      k110035,    publicly   available   at

  http://www.accessdata.fda.gov/cdrh_docs/reviews/K110035.pdf (last accessed Feb. 9, 2021).

         I declare under penalty of perjury that the foregoing is true and correct.

  Executed this 10th day of February 2021, at New Brunswick, New Jersey.


                                                s/Christopher R. Carton
                                               Christopher R. Carton
